1          IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
2                    HOUSTON DIVISION
3
4    SECURITIES AND EXCHANGE )
     COMMISSION,             )
5                            )
         Plaintiff,          )
6                            )
     vs.                     ) Case No. 4:22-cv-3359
7                            )
     MAURICIO CHAVEZ,        )
8    GIORGIO BENVENUTO, and )
     CRYPTOFX, LLC,          )
9                            )
         Defendants.         )
10                           )
         and                 )
11                           )
     CBT GROUP, LLC,         )
12                           )
         Relief Defendant.   )
13   ________________________)
14
15
16       ORAL, VIDEOTAPED, AND INTERPRETED DEPOSITION OF
17                     MARCO ANTONIO LEMUS
18                       JANUARY 9, 2023
19                       HOUSTON, TEXAS
20
21
22
23
     Reported By:
24   Annette Peltier, TXCSR, TXCRR
     CSR No. 3253
25   Job No. 230109WWC
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1        Q.   Okay.
2                        (Whereupon Exhibit 69 was marked
3                        for identification.)
4        Q.   (BY MR. GULDE)     I'm going to hand you a document
5    that I'm labeling as Exhibit 69.
6                    Have you seen this document before?
7        A.   No.
8        Q.   Do you understand CFX to have kept daily reports
9    on the status of contracts?
10       A.   No.
11      Q.    Looking at a report like this would not have
12   been part of your daily job?
13      A.    I wasn't actually at the office, ever.
14       Q.   Well, except on Mondays.
15      A.    Not at the office.     Giving my presentation,
16   there wasn't anybody in the office.
17      Q.    All right.    So where -- where did you physically
18   go to give your presentations on Mondays?
19       A.   There at Blalock.
20      Q.    So you would show up at 7 o'clock on Monday
21   night and be the only one there?
22      A.    Yes.    There were many people/persons that were
23   going to hear me.
24      Q.    I guess I'm -- I'm just confused because you
25   said you -- you never went into the office, but
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1    Blalock --
2        A.   Yeah, office, I call it the places where the
3    people are working.    I wouldn't go in there.
4        Q.   Okay.    So you're making the distinction that you
5    would go into the presentation spaces but not the spaces
6    of the office where people are doing the work?
7        A.   Yes.    It would be separated.   I didn't have
8    anything to do with them.
9        Q.   Now, notice in this first square on the upper
10   left on Exhibit 69 there's a listing that says,
11   "Contract R-E-C, Tony."      And it has the number 404,500
12   next to it.
13                   Do you see that?
14       A.   This one?    Yes.
15       Q.   Yes.
16       A.   I see it.
17      Q.    Do you -- do you think that indicates that you
18   brought in $404,000 in new contracts?
19       A.   That's possible.
20      Q.    Is that something that happened?
21       A.   Also it's possible.
22      Q.    And then notice down here in the lower right
23   rectangle --
24       A.   Yes.
25      Q.    -- a little less than halfway down, it says,
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1    "Payment Received, Tony"?
2        A.   Uh-huh.
3        Q.   And it lists the number 99,060.
4                  Do you see that?
5        A.   That I received it?
6        Q.   I'm asking if you see that on this document.
7                  Do you see that?
8        A.   Yes, I see it.
9        Q.   Okay.   And I'm -- and my question to you is:
10   What would this have meant?
11      A.    I don't know.     I have no idea how they do this.
12      Q.    Is there ever a time that you received $99,000
13   from CFX?
14      A.    That I remember, no.
15      Q.    Is there ever a time that you paid CFX $99,000?
16      A.    Maybe in the amount of contracts.        I don't know
17   what that is.
18      Q.    Okay.
19      A.    I don't know what it is.
20      Q.    But whenever you --
21                      MR. GULDE:    Go ahead.
22      A.    Allow me.
23                      THE WITNESS (In English):      It's okay.
24      A.    It's okay.    All right.   Yeah.
25      Q.    (BY MR. GULDE)     I mean, your testimony is that
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